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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC                    §
                                              §
                   Plaintiff,                 §            CIVIL ACTION NO.
                                              §             2:17-cv-00028-JRG
                                              §
v.                                            §        JURY TRIAL DEMANDED
                                              §
TCL CORPORATION AND                           §
TTE TECHNOLOGY, INC.                          §
                                              §
       Defendants.                            §

                     MOTION FOR DISMISSAL WITH PREJUDICE

       Under Fed. R. Civ. P. 41 (a), Plaintiff Symbology Innovations, LLC (“SI” or Plaintiff)

moves to dismiss all claims asserted against Defendants TCL Corporation and TTE Technology,

Inc. WITH PREJUDICE, with each party to bear its own attorneys’ fees and costs.

 Dated: June 23, 2017                      Respectfully Submitted,

                                           /s/ Eugenio J. Torres-Oyola
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                                           ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was filed electronically in compliance with

Local Rule CV-5(a). As such, this document was served on all counsel who are deemed to have

consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R. Civ. P. 5(d) and

Local Rule CV-5(d) and (e), all other counsel of record not deemed to have consented to electronic

service were served with a true and correct copy of the foregoing by email, on this 23rd day of

June, 2017.

                                                 /s/ Eugenio J. Torres-Oyola
                                                   Eugenio J. Torres-Oyola
